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 7

 8                                   UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:14-CR-00239-GEB

12                                Plaintiff,             ORDER SEALING DOCUMENTS AS SET FORTH
                                                         IN UNITED STATES’S NOTICE
13                          v.

14   GERALD OSBORNE,

15                               Defendant.

16

17          Pursuant to Local Rule 141(b) and based upon the representations contained in the United

18 States’s Request to Seal and the factors set forth in In Re Copley Press, Inc., 518 F.3d 1022, 1028 (9th

19 Cir. 2008), IT IS HEREBY ORDERED that the three-page document pertaining to defendant Gerald

20 Osborne, and United States’s Request to Seal shall be SEALED until further order of this Court. See

21 also, United States v. John Doe, 2017 WL 3996799 (9th Cir. Sept. 12, 2017)

22          It is further ordered that access to the sealed documents shall be limited to the United States and

23 counsel for the defendant.

24          Dated: January 9, 2018

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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET          1
30    FORTH IN UNITED STATES’S NOTICE
